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            v ~~,a~~~                                                                                                MAR 3 f 2021
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~ ` t(n` ~ yS                       ~                                                                        EASTEFIN DIV    N    BY DEPUTY
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                                           iJNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OP CAL~OItNIA
                                                                   cnsBr~$R
UNITED STATES OP AMERICA
                                o                      per. 5;~~-~~~-~a~`~1
       `              {~                                                CONSffi~]T TO VIDBO/TELEPHOrTIC CONFEBF.I~TCB
 ~in~ ~\              1~~ ~ ~v''e2                                       AND10R WAIVER OP DEFENDANTS PRESffi3CE
                                                   DEFENDANT(S).             0AND PROPOSBD FINDINGS/ORDER
Check each that appde~
  "CONSENT TO VIDEO CONPERENCEITELEPHOIIIC OONFERF.~TCE                              ❑ WAIVER OF DEFErTDANTS PRESENCE
1.Con~mtto Video Confiereace/Telephonic Conference
I,                              ~ ~~                      , understand that the U.S.Constitution,the Federal Rules of Criminal
Procod~e.and/or one or more          statutes may give me the right to have all the below-listed proceedings ta1ce place in person in
open aonrt ARa consultation with counsel.Ilaiowingly and voluntary aonsmt to the pmaodiags below instead mkin8P~by
video conference or,ifolden conference is not reasonably available,by telephonic confaencc
 Clack earn that appliex
 ~'DeLeation/Bail R~eview/Reconaideiation Heazing{s)(18 U.S.G Sec.3142)              ~'faitial Appearance(Fed.R Crim.P.5)
 ❑ PrdiminaryHearin8(Peel. R Crlm.P.5.1)                                              ❑ Arrai~ment(Fed.R Crim.P.10)
 p          Release x~vo~~on ~o~n~s(is vs.cs~ 3i4s)                                   ❑ Waiver ofIndidmmt(Fed.R Crim.P.~@))
      M'udemanor Pleas sad Sentmdngs(Peel R Crim.P.43(b)(2))                          ❑ Appearances undo Fed R Crim.P.40
 ~ Probation and Supervised Release Revocation Proceedings(Peel. R Crim P.32.1)
 Notes to consent to a„ appaarunu by video or telephonic conference atone ofthe ewo proceedings listed below,you must also complete
 the proposed Findings"saHon on page2ofthisform.                                                                     .
                     Peloiry Pleas(Fed.R Crim.P.11)             ~ Felony Sentencings(Peel.R Crim.P. 32)

 2.Wainer ofDefeadaat'a Preseau
 1,                                                        , underseaad that the U.S. Conat[tuaon,the Pederal pules ofCriminal
 Procedure,and/or one or more federalstatutes may give me the right m be present at all ofthe below-listedproceedings - in person,
 by video ooafetmce~ or by telephonic conference. A8a cona~iltatlon with counsel,Ilmowingly sad volmntarily wAive my rightto be
 preemtin perron isopen court or by video conference or bytelephonic conference at the procadings below:

  Check mch that appHrs(o~d uu Form CR-35 in waive the defendm~t'sprese~ece atother types ofprococdings):
  ~ Dntentlon/Ba~1 Review/Raonsidaaaon Hearing(a)(18 U.S.C.Sa.3142)                    ❑ Waiver ofIndictmmt(Fod.R GYim.P.7(b))
  ❑ Pre]iminary Hea~in8(Fed.R Crlm.P.5.1}                                              ~ Appearancesimda Ped.R Com.P.40
      Pre~ial Release Ravoat[on Proaodiags(18 U.S.G Sec.3148)
  a Misdemzaaor Pleas and Seatencings(Fed.R Cram.P.43(b)(2))
       Probation and Supervised Release Revocation Praeediap~(Fed.R Crtm.P.32.1)                                 '


  Date
      33 a~                                                                                            '2
                                                               t             ~Signed for Defmdaat by Counsel Ddmdant w[th
                                                                              Ddradanfs Authorization[Chak if applicable].
 (R.p29 (p6/Zp)            OONSENTTO YIDHOfl'~PHODIIC O~NFB~iC~ AND/OH WAIVPH OFDBFE~IDANTSPRBS6NC8                               P.1 OF2
          Case 5:21-mj-00224-DUTY Document 6 Filed 03/31/21 Page 2 of 2 Page ID #:13
                                           /"''~


I have translated this consent/waiver to the Defendantis the                                                      language.




Date                                               Iatapc+eta(ifrequired)
                                                                               Signorifor Intecpreta by Counselfor Defendant with
                                                                            ~ Interpreter's Authorization(Check ifapplicaWej

I am counselfor the Defendant hadn. Prior to the Ddrndaatsuing this document or authorizing me to sign this docam~nt on the
Ddeadaafs behalf I fully advised the Defendantofthe Debendant's above-rcfamcod rights sari consulted with the Defaidant
reg9rdiag such rights and the DeSendant's tonsenVh►aiva(s). Ibelievethatthe Defendant undt~stands such rl~ts and that tie
Ddendant's coaaent/waiva(s) are knowing and voluntary, sariIconcur with sndi wnaeadwaiver(s).




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 3.Prnpo~edFIndings RegardingHarm of Partha Delay of Felony Plea or Seatendng

 Pnrsoant tog 15002(b)(2) of the Coronavi:us Aid, Relied andEconomic Saurity ("CARE,S"') Act and ~ 2 of Order of the Chief Judge
 No. 20-043 (In R~ Coronaviios Public Emergenry Use of Video and Telephonic Conference in Certain Cr~miaal Proceedings), frlony
 pleas urd sentencinga cannot be conducted other ti~an inpera~n in open court unless the jadge makes spedfic findings that the plea
 or senteadag "cannot be fiuthec delayed withort serious harm to the interests of justice.' Accordingly, if the defeadaat intends do
 o~naent to a frlo~+pka or smtendn8 ~SPlan by video conference or,if video confamce is not reasonably avai}able,by
 tekphm~ic wnference~ instead of in person in open court, tie defendant must set forthbelow proposed findings sv~dmt to make
 this showing.




   4.Orda Adopting              Begard~ngHarm of Purdier Delay of Peloa~y Pka or Sentmc3ng

   Pucsumt to $15002(b)(2) of die Coronavhvs Aid, Relied and Economic Security ('CARES? Act and 4 2 of Order of the Chief Judge
   No. 20-043 (Ice RC Cor~avhns Public Emagmry Use of Video sadTelephonic Conference in Certain CriminalProceedings).I
   hereby sari lust the
                      ~ Felony Plea (Fed. R Crim. P. 11)            ❑ Felony Sentmciag(Pod.R Crlm.P.32)

    isthis case cannot be farther delayed withoutsai~oua ha:m to the iatereats ofjasace,for the reasons setforth above.



   i                                                  United Staffs Dishid judge


 (8-029 (06JZ01         OONSffi~1T TO VIDDO/TEi~'SONLCOONF~AND/OA WAIVER OF DEFENDANTSPBESIIZCB                                P.2OF2
